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10
11                                UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA

13                                         SAN JOSE DIVISION

14
15 M.A. MOBILE LTD., a limited liability
   company chartered in Dominica; and
                                                        Case No. C-08-02658 RMW

16 MANDANA D. FARHANG,                                  PLAINTIFFS’ CONSOLIDATED NOTICE
                            Plaintiffs,                 OF MOTION AND MOTION REQUESTING
17                                                      RECONSIDERATION OF THE COURT’S
            v.                                          PREVIOUS ORDER DENYING
18                                                      PLAINTIFF’S MOTION TO DISQUALIFY
19 INDIAN INSTITUTE OF TECHNOLOGY
   KHARAGPUR, an Indian Institute of
                                                        ORRICK, HERRINGTON & SUTCLIFFE
                                                        LLP AS DEFENDANTS’ COUNSEL AND
20 Technology incorporated under the “Institutes
   of Technology Act, 1961”; PARTHA P.
                                                        MOTION TO DISQUALIFY DEFENDANTS’
                                                        COUNSEL AS COUNSEL TO ANY THIRD
21 CHAKRABARTI;
   inclusive,
                and DOES 1 through 100,
                                                        PARTY WITNESSES IN THIS MATTER
22
                              Defendants.               Date:      March 7, 2014
23                                                      Time:      9:00 AM
                                                        Dept:      6, 4th Floor
24                                                      Judge:     Honorable Ronald M. Whyte
25
26
27   PLAINTIFFS’ CONSOLIDATED NOTICE OF MOTION AND MOTION REQUESTING RECONSIDERATION OF THE COURT’S
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28   DEFENDANTS’ COUNSEL AND MOTION TO DISQUALIFY ORRICK AS COUNSEL TO ANY THIRD PARTY WITNESSES IN THIS
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 1
 2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3            PLEASE TAKE NOTICE that on March 7, 2014 at 9:00 AM or as soon thereafter as the

 4 matter may be heard, in Courtroom 6, Fourth Floor, the Honorable Ronald M. Whyte presiding,
                                                                                                 1
 5 Plaintiffs will move the Court to reconsider (or seeks leave of the Court to file said motion) and
 6 reverse its previous order (“Order”) denying Plaintiff’s original motion to disqualify Orrick,
 7 Herrington & Sutcliffe LLP (“Orrick”) as counsel to Defendant Indian Institute of Technology,
 8 Kharagpur (“IIT”) and Defendant Partha P. Chakrabarti, and will move the Court for a new order
 9 disqualifying Orrick as counsel to any third party witnesses in this matter (e.g. Former Defendant
10 Gurashish S. Brar, Former Defendant Pallab Dasgupta, etc.) This motion is made pursuant to U.S.
11 District Court Northern District of California Civil Local Rule 11-4, California Rule of
12 Professional Conduct 3-310, California Business and Professions Code Section 6068(e), and Civil
13 Local Rule 7-9 on the grounds that: (i) Orrick previously represented Ms. Farhang in connection
14 with an employment transaction and dispute involving negotiation over rights to the very same
15 intellectual property that is at the heart of the present lawsuit, (ii) unbeknownst to this Court and
16 Plaintiffs in 2010 at the time of the Order, Defendants’ lead counsel I. Neel Chatterjee falsely
17 denied the timing, scope and substance of his interactions with Defendants while under oath in the
18 previous January 2010 evidentiary hearings, (iii) unbeknownst to this Court and Plaintiffs in 2010
19 at the time of the Order, Orrick attorneys falsely denied the scope of the former client documents
20 they retained and the presence of Ms. Farhang’s former counsel in the same Bay Area practice as
21 Mr. Chatterjee during the very time period when Mr. Chatterjee and Mr. Chatterjee’s intermediary
22 (his father Bijoy Chatteree) were having repeated interactions with Defendant Chakrabarti about
23 Ms. Farhang and the joint venture, and (iv) This Court, at the September 24, 2014 Hearing,
24   1
      As of the date of this filing, a copy of the transcript for the September 24, 2014 hearing is not yet available. At said
25   hearing, the Court appeared to authorize the filing of a motion for reconsideration when Plaintiff inquired about
     scheduling a new motion to disqualify. Declaration of Sanjiv N. Singh In Support Of This Motion (“Singh Decl.”),
26   ¶23. To the extent the Court requires a formal motion seeking leave to file the motion for reconsideration, please
     consider this motion as Plaintiffs’ motion seeking leave to file the above captioned motion for reconsideration.
27                                                              -5-
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 1 expressed significant concerns about Orrick continuing as counsel and verbally authorized
 2 Plaintiff, while on the record, to file a motion for reconsideration to brief the issue. Moreover,
 3 although not necessary to show for Plaintiff to prevail on this Motion, the interactions between
 4 Mr. Chatterjee, Mr. Chatterjee’s father, and Defendant Chakrabarti also show Neel Chatterjee to
 5 be at the very least a material witness to material events during the joint venture, including events
 6 relating to the termination of the joint venture, and more concerningly raise the real possibility that
 7 Mr. Chatterjee may be a defendant in this matter given his access to Ms. Farhang’s confidential
 8 information and the fact that he may have unwittingly or intentionally transmitted confidential
 9 client information which facilitated breach of the joint venture. Dkt. No. 459 at 6:10-20. This
10 motion is based on this Notice, the Motion brief that follows, the pleadings, the attached
11 supporting documents, and any argument or legal authority that the Court may consider at the
12 scheduled hearing or otherwise.
13      I. INTRODUCTION
14          Without a doubt, between 2010 and the present day, this Court and Plaintiffs have learned
15 of extraordinary events and circumstances concerning Neel Chatterjee’s prior connections,
16 communications and relationship with Defendants, and said events and circumstances now
17 demand disqualification of Orrick as attorneys of record in this matter and in addition should
18 prompt this Court to sua sponte impose appropriate sanctions. Each of the factual predicates the
19 Court relied on in denying the previous Motion to Disqualify (Dkt. Nos. 29 - 31) has now been
20 shown to be false: (1) Contrary to Neel Chatterjee’s previous sworn testimony, it has since been
21 discovered that Mr. Chatterjee and his intermediary (and father) Mr. Bijoy Chatterjee secretly and
22 repeatedly communicated about the joint venture and Ms. Farhang (including termination of the
23 joint venture) with Defendant Chakrabarti, and all of this took place more than three years earlier
24 than previously represented; (Singh Decl., ¶¶7-9; see also Declaration of Micah R. Jacobs In
25 Support of This Motion (“Jacobs Decl.”)., ¶¶8-10; see also Singh Decl., Ex. 2 (“August 2013
26
27                                                     -6-
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 1 Privilege Log”) at Document Nos. 1-3 and Ex. 3 (“December 2013 Privilege Log”) at Document
 2 Nos. 77, 108, 240-242, 251-253, 307-310); (2) Mr. Chatterjee’s and his intermediary’s repeated
 3 discussions with Defendant Chakrabarti took place without notice to or consent from Ms. Farhang;
 4 (Singh Decl., ¶8); (3) Contrary to Orrick’s previous sworn testimony, those discussions took place
 5 while Mr. Telfer was still working for and residing in Orrick’s Bay Area practice where Mr.
 6 Chatterjee was and is an attorney, and Mr. Telfer acknowledges the possibility that he talked to
 7 Mr. Chatterjee during this time period; (Id.; see also Dkt. No. 30, ¶3-5; see also Singh Decl., ¶18-
 8 20); and (4) Contrary to Orrick’s previous sworn testimony, Ms. Farhang’s client file contained
 9 significant information about her views of the Mobile Technology and its ownership, was present
10 at Orrick and accessible to Mr. Chatterjee and other Orrick attorneys during the entire time he was
11 talking to his close friend Defendant Chakrabarti, and was much larger than previously disclosed
12 to this Court. Singh Decl., ¶¶10, 21; see also Dkt. No. 459-1, Ex. 3 [Previously Submitted Under
13 Seal].
14             In light of these circumstances, in particular the fact that Mr. Telfer (in full possession of
15 his Farhang files and emails) was present and accessible to Mr. Chatterjee when Mr. Chatterjee
16 was communicating with Defendant Chakrabarti (Singh Decl. ¶¶7-9), the substantial relationship
17 test should apply and no imputed knowledge analysis is necessary or frankly appropriate. See
18 infra at Section III(A)-(C). By virtue of Mr. Telfer’s presence at Orrick during the relevant time
19 period (not to mention Mr. Telfer’s recent statements to Plaintiffs’ counsel acknowledging that he
20 may have talked to Mr. Chatterjee)(Singh Decl. at ¶¶18-20)2, it is clear that Orrick presumptively
21
     2
         In 2010, Mr. Chatterjee testified that when he first heard of the lawsuit filed by Ms. Farhang
22 against Defendants in the summer of 2008, he ran a conflicts check and found Ms. Farhang’s
23 name. Dkt. No. 458-3 at 70:3-5. He then claims and expressly admits that he tried to get
     information about Ms. Farhang from Orrick’s servers, but hedges on whether he accessed it by
24 stating vaguely that it was “not really accessible.” Id. at 70:6-10. He then states that he took the
     “out of the norm” step of calling Mr. Telfer (who was not at Orrick at that point) to talk to Mr.
25 Telfer. Id. at 70:10-20. In view of Mr. Chatterjee’s conduct in 2008, it is not surprising that Mr.
     Telfer acknowledged to Plaintiffs’ counsel that it was possible Mr. Chatterjee also may have
26 reached out to him while he was at Orrick during the earlier time frame from 2004 to 2006. Singh
27                                                -7-
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 1 and conclusively had knowledge of Ms. Farhang’s confidential information during the time Mr.
 2 Chatterjee began to have material communications with Defendant Chakrabarti, and said
 3 knowledge and communications demand disqualification of Orrick. Moreover, although not
 4 necessary to show here, Orrick’s lead trial counsel Neel Chatterjee is either a material witness or
 5 potentially a defendant in this matter (see infra at Section III(E)), and as Orrick itself has insisted
 6 (Dkt. No. 463 at ¶2), Mr. Chatterjee is inseparable from Orrick’s representation of Defendants.
 7 The only just and reasonable remedy under these extraordinary circumstances, and in view of
 8 Orrick’s extraordinary pattern of providing false and incorrect information to the Court on these
 9 gravely important matters, is for the Court to disqualify Orrick as counsel of record to Defendants
10 and consider sue sponte imposition of appropriate sanctions. Defendants’ rights will not be
11 prejudiced as they enjoy unlimited governmental resources and can quickly retain a suitable global
12 firm to continue their representation in this matter.3
13      II. FACTUAL BACKGROUND
14          The following is a summary of the facts relevant to the Court’s disposition of this Motion:
15
        A. Plaintiff Farhang Engaged Orrick For Advice About Her Work And Transactions
16         With Ikonodyne and Therein Orrick Acquired Critical Knowledge About Ownership
           of and Ms. Farhang’s Views Of Ikonodyne’s Mobile Technology
17
            In May 2000, Plaintiff Mandana D. Farhang hired Orrick partner and employment law
18
     attorney James Telfer, who was then partner at Orrick, Herrington & Sutcliffe LLP (“Orrick”) in
19
     the same Bay Area practice group as Mr. Chatterjee. Dkt. No. 31, ¶¶3-14. By Mr. Telfer’s own
20
21 Decl., ¶18. Similarly, it is also not surprising that if Mr. Chatterjee tried to find documents about
     Ms. Farhang in 2010, he likely would have tried to do the same thing—i.e. to find relevant
22 documents about Ms. Farhang—when he was communicating with Defendant Chakrabarti about
23 Ms.
   3
       Farhang from 2004 to 2006. Id.
      Indeed, during the summer of 2012, shortly before the Ninth Circuit’s stay of this matter,
24 Counselor Thomas Zellerbach and Counselor Neel Chatterjee attended a meet and confer with
     Counselor Micah Jacobs and Counselor Sanjiv Singh. At that meet and confer, Defendants’
25 counsel announced that they had enlisted the Global Legal Network of PriceWaterhouse Coopers
     (“PwC”) to assist Orrick and that PwC was coordinating all of the discovery production for the
26 case. Singh Decl. ¶6.
27                                                     -8-
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 1 testimony (and consistent with Plaintiff Farhang’s testimony), Mr. Telfer represented Plaintiff in
 2 the following interrelated areas (i) negotiation of an employment agreement with the entity
 3 (“Ikonodyne”) that owned the mobile technology (“Mobile Technology”) which would ultimately
 4 be used in the joint venture at issue in this litigation; (ii) formation of a new company for Ms.
 5 Farhang to house certain rights to the Mobile Technology; and (iii) ownership of the Mobile
 6 Technology and Ms. Farhang’s intention to obtain rights to the Mobile Technology from
 7 Ikonodyne for use in a commercial venture. Dkt. No. 30, ¶¶ 3 – 6; see also Dkt. No. 31, ¶¶3-14;
 8 see also Dkt. No. 41, ¶¶1-9. In fact, as Ms. Farhang and Mr. Telfer both testified, Mr. Telfer did
 9 not merely advise on the terms of her employment but ultimately also advised on handling the
10 negotiations and early phases of the dispute which ensued between Ms. Farhang and Ikonodyne,
11 and in doing so had knowledge both that Ms. Farhang did not initially own the Mobile Technology
12 in 2000 and specific knowledge about her views and preferences with regards to owning and using
13 the Mobile Technology for a future commercial venture and new commercial entity. Id. It is not
14 surprising that this Court, despite Defendants’ repeated arguments to the contrary (which
15 arguments have been repeated to this day and were repeated by Counselor Alderman in the recent
16 January 24, 2014 hearing), found a substantial relationship between Mr. Telfer’s previous
17 representation of Ms. Farhang and Orrick’s subsequent representation of Defendants in connection
18 with the joint venture involving the very same Mobile Technology. Dkt. No. 86 at 6:1-12.
19      B. As a Result of Mr. Telfer’s Representation of Ms. Farhang, Orrick Had Critical
           Knowledge Regarding the Mobile Technology, Its Ownership, and Ms. Farhang’s
20
           Views and Plans for The Mobile Technology
21
            At the time that Neel Chatterjee was having repeated interactions with Defendant
22
     Chakrabarti, Plaintiffs now know that Orrick’s knowledge of Ms. Farhang’s confidential
23
     information existed through at least three distinct channels:
24
            First, Mr. Telfer had personal knowledge of the relevant facts and issues and resided as a
25
     partner in the Bay Area practice of Orrick from 2000 to 2008, including the same 2003 to 2006
26
27                                                     -9-
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 1 timeframe during which Mr. Chatterjee (another Bay Area partner) and/or his intermediary Mr.
 2 Bijoy Chatterjee (Neel Chatterjee’ father) were having repeated communications with Defendant
 3 Chakrabarti including specific dialogue about the joint venture and Ms. Farhang. Dkt. No. 30, ¶¶ 3
 4 – 6; see also Singh Decl., Ex. 1 and ¶¶7-10; see also August 2013 Privilege Log; see also
 5 December 2013 Privilege Log at Document Nos. 77, 108, 240-242, 251-253, and 307-310. Mr.
 6 Telfer did not leave the firm until 2008, and was thus present in the same Bay Area practice of
 7 Orrick as Mr. Chatterjee. Dkt. No. 30, ¶¶3-5; Mr. Telfer expressly told Plaintiffs’ counsel that it
 8 was possible he spoke to Mr. Chatterjee about Ms. Farhang and the joint venture while still at
 9 Orrick. Singh Decl., ¶18; see also supra at Foonote 2. Moreover, Mr. Telfer’s prior 2009
10 declaration states unequivocally that his engagement focused in part on her ownership rights
11 associated with the Mobile Technology. Dkt. No. 30, ¶3; see also Singh Decl., ¶¶10, 21; see also
12 Dkt. No. 459-1, Ex. 3 [Previously Submitted Under Seal].
13          Second, Orrick’s previously disclosed purported “client file” (an implausibly trim 39 page
14 packet which was erroneously represented by Orrick in the 2010 evidentiary proceedings as the
15 complete client file and documents relating to Ms. Farhang on the Orrick servers (Dkt. No. 458-3
16 (“January 2010 Hearing Transcript”) at 15:25-16:3) was residing on the Orrick’s servers during
17 the same time frame that Mr. Chatterjee was having repeated interactions (either directly or
18 through his father Bijoy Chatterjee as intermediary) with Defendant Chakrabarti. See Client File
19 Submitted for In Camera Review By Orrick (received by this Court under seal pursuant to
20 Administrative Motion, Dkt. Nos. 35-37, p. 18 of the PDF [Section 9 entitled “Formation of New
21 Entity” of draft employment agreement with Ikonodyne]). Although Orrick confirmed that this
22 Client File was on their servers, in 2010 Mr. Chatterjee provided evasive testimony where he
23 appears to initially deny trying to access it but then claimed that he requested information about
24 Ms. Farhang that was “not really [emphasis added] accessible” and then took the “out of the norm
25 [Mr. Chatterjee’s own words]” step to call Mr. Telfer. See supra at Footnote 2. Regardless, the
26 purported “client files” were present during the earlier period (2003-2006) when Mr. Chatterjee
27                                                    - 10 -
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 1 and/or his intermediary Bijoy Chatterjee were having repeated interactions with Defendant
 2 Chakrabarti, and Mr. Telfer has confirmed that said files were accessible to any Orrick attorney
 3 through simple access to the draft documents retained on the Orrick server. Singh Decl. ¶¶7-9, 18-
 4 20. Said documents were also plainly accessible during the same period when Mr. Telfer still
 5 resided at Orrick, and were accessible by either Mr. Telfer (in response to inquiries by Mr.
 6 Chatterjee) or by Mr. Chatterjee. Id.
 7          Third, it has now been discovered that Orrick’s knowledge of Ms. Farhang’s client matters
 8 included a previously undisclosed tranche of numerous emails residing this entire time on Orrick’s
 9 servers. Specifically, Orrick finally admitted in February of 2013 that during the 2010 evidentiary
10 hearings, Orrick had previously misrepresented the size and content of Ms. Farhang’s files to the
11 Court (January 2010 Hearing Transcript at 15:25-16:3) and that in fact it had retained on its
12 servers a much larger tranche of Plaintiff’s files including confidential emails and work product.
13 Singh Decl., ¶¶10, 21. Only after Plaintiff’s demand, Counselor Alderman provided a copy of a
14 much larger client file to Plaintiff but discounted its significance by stating that it had not been
15 located previously due to some kind of internal litigation hold. Id. Plaintiffs’ counsel questioned
16 Mr. Alderman, pointing out that a litigation hold should have made it easier to locate, but Mr.
17 Alderman offered no credible explanation and admitted that the files were present on Orrick’s
18 servers during the entire time Counselor Chatterjee interacted with Defendant Chakrabarti. Id.
19 Most notably, the files contained more than two hundred emails and work product, several of
20 which discuss intellectual property ownership of the Mobile Technology and contain discussions
21 of Ms. Farhang’s plans for use and commercialization of the Mobile Technology. Id.; see also
22 Dkt. No. 459-1, Ex. 3 [Previously Submitted Under Seal].
23          Although Orrick disputes Mr. Chatterjee’s access to these files, it is clear that Mr.
24 Chatterjee had access to Mr. Telfer who controlled the emails, and Mr. Telfer recently disclosed to
25 Plaintiff’s counsel that it was possible that he had spoken to Mr. Chatterjee. Singh Decl., ¶18; see
26 also supra at Footnote 2. In addition, Mr. Telfer noted to Plaintiffs’ counsel that, given his
27                                                    - 11 -
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 1 knowledge of how outgoing partner emails are processed, his email would have been accessible to
 2 other Orrick partners after he left the firm. Id. Moreover, the Court should note that:
 3          (i)     Mr. Kaufman previously acknowledged that Orrick’s servers were not designed to
 4                     comprehensively or completely track access or usage of electronic documents
 5                     during the relevant time period; (see Jacobs Decl., ¶3; see also January 2010
 6                     Hearing Transcript at 48:21-49:24);
 7          (ii)    Orrick itself in 2010, despite being under oath, could not even track that the Telfer
 8                     files existed let alone who accessed them (Id.);
 9          (iii)   Mr. Chatterjee, also under oath, supposedly could not apparently even remember he
10                     had the 2005 or 2006 Chakrabarti conversations until reminded and provided
11                     false testimony on the timing, content, and nature of his communications with
12                     Defendant Chakrabarti (Dkt. No. 458-2, Ex. B; see also Singh Decl. Ex. 1);

13          (iv)    Mr. Telfer acknowledges it is possible he spoke to Mr. Chatterjee (Singh Decl.,
14                     ¶18), and Mr. Chatterjee admits he spoke to Mr. Telfer on a separate occasion in
15                     2008 but claims he did not do so under very similar circumstances when
16                     contacted by Defendant Chakrabarti repeatedly from 2004 to 2006 (see infra at
17                     Footnote 2);
18          (v)     Both the 39-page Client File provided in 2009 and the larger client file revealed in
19                     2013 (including more than 200 emails) (Singh Decl., ¶21) contain express
20                     references to critical intellectual property ownership issues, and Mr. Telfer has
21                     confirmed to Plaintiff’s counsel that to his knowledge such documents were
22                     accessible on Orrick’s servers (Singh Decl., ¶18); and
23          (vi)    In 2008, Mr. Chatterjee states that the first thing he did when he heard of the
24                     lawsuit was to try to obtain information about it from Orrick’s servers and from

25                     Mr. Telfer (Transcript at 70:6-25) , but expects the Court to now believe, while
26                     giving false testimony in 2010 in which he denied ever speaking to Mr.
27                                                    - 12 -
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 1                      Chakrabarti about the joint venture, that he did not attempt to access relevant
 2                      information or talk to Mr. Telfer when Mr. Chakrabarti contacted Mr. Chatterjee
 3                      several years before. See supra at Footnote 2.
 4
           C. Starting in 2004, Neel Chatterjee And Or His Intermediary Bijoy Chatterjee Engaged
 5            in Repeated Communications With Defendant Chakrabarti About Ms. Farhang And
              The Joint Venture
 6
              Since the inception of this matter, Orrick has on various occasions maintained that it had
 7
     not represented Defendant Chakrabarti or Defendant IIT until 2008 when Orrick was engaged by
 8
     Defendants. Dkt. No. 32 at p. 5, 11:1-10; see also January 2010 Hearing Transcript at 79:1-21.
 9
     During the 2010 proceedings on Plaintiff Farhang’s previous Motion to Disqualify Orrick, Orrick
10
     claimed that the representation of IIT was removed from the prior representation of Ms. Farhang
11
     by substantial passage of time, and claimed that their prior representation of Ms. Farhang had no
12
     bearing on the present matter. Id. at 14:12-18. Moreover, they claimed that Orrick’s
13
     communications with Defendant IIT and Defendant Chakrabarti began after Mr. Telfer left the
14
     firm (2008) and years after relevant documents were available for review. January 2010 Transcript
15
     at 16:1-25; 65:8-66:18;and 79:1-21. Equally importantly, Mr. Chatterjee expressly told the Court,
16
     in sworn testimony, that his interaction with Defendant Chakrabarti in 2004 and prior to the
17
     commencement of this lawsuit had nothing to do with the joint venture or Ms. Farhang and that at
18
     most Ms. Farhang was mentioned in passing in an immaterial manner. Id at 65:8-66:18;and 79:1-
19
     21.
20
              Mr. Chatterjee and/or his counsel William Alderman have changed their characterization
21
     of Mr. Chatterjee’s communications with Mr. Chakrabarti on multiple occasions. Initially, in
22
     2010, when under oath, Mr. Chatterjee claimed that any communications with Defendant
23
     Chakrabarti during this time period were of a personal and/or immaterial nature, and flatly denied
24
     any attorney client relationship, formal or informal, with Defendants in connection with the
25
     subject of this lawsuit. Transcript at 65:8-66:18; 79:1-21. Three years later, he admitted he in fact
26
27                                                    - 13 -
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 1 had communicated with Defendants about Ms. Farhang and the joint venture but claimed that a
 2 portion of these communications may have been privileged and involved discussions about the
 3 joint venture. Singh Decl., Ex. 1. Subsequently, in additional conversations with Plaintiffs’
 4 counsel, Mr. Alderman divulged that the conversations were more personal but still related to the
 5 joint venture, thus supposedly excusing the fact that Mr. Chatterjee did not obtain Ms. Farhang’s
 6 consent or run a conflicts check, and indicated that his colleague Counselor Zellerbach would
 7 submit a privilege log which would clarify which communications were not privileged. Singh
 8 Decl., ¶¶ 8-9. A first privilege log (the August 2013 Privilege Log—see Singh Decl. Ex. 2) was
 9 eventually produced but notably absent from the log were several key communications between
10 Mr. Chakrabarti and Mr. Chatterjee, which communications (as Mr. Alderman expressly disclosed
11 to Plaintiffs’ counsel) took place in 2005 and 2006 concerning Mr. Chakrabarti’s desire to
12 terminate the joint venture and his concerns about Ms. Farhang. August 2013 Privilege Log; cf.
13 Singh Decl., ¶9. The August 2013 Privilege Log does not include these 2005 and 2006
14 communications, which Plaintiffs have been told took place verbally, by phone, and possibly by
15 other media including instant messaging. Singh Decl., ¶¶8-9. Mr. Alderman just a few days ago
16 changed yet again Orrick’s description of the relevant communications, claiming now that there
17 are not “several” instant messages but only one instant message to his knowledge. Singh Decl.,
18 ¶24.
19
        D. Additional Purported Privilege Logs Produced in 2013 Contradict Mr. Chatterjee’s
20         Sworn Testimony And Confirm Active Communications About Ms. Farhang During
           The Very Same Period When Mr. Telfer And Ms. Farhang’s Files Were Still At
21         Orrick
22          On December 31, 2013, Counselor Thomas Zellerbach sent Plaintiffs another privilege log,
23 this time for Defendants. Singh Decl., Ex. 3. In this log, there are now numerous other
24 “Chatterjee” privilege log entries which either appear blatantly inappropriate (i.e. privilege
25 claimed on relevant April 2006 communications with “B.G. Chatterjee”, i.e. Neel’s father, Bijoy
26 Chatterjee—e.g. Privilege Log Document No. 77, 108, 240, 241, and 242 ) or which now are
27                                                    - 14 -
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 1 claiming privilege over 2004 and 2006 communications during the time period when Mr.
 2 Chatterjee described, under oath, his communications as non-legal (e.g. Privilege Log Document
 3 No. 307, 308, 309, 310) and which the August 2013 log did not mention. Id.; cf. January 2010
 4 Hearing Transcript at 65:8-66:18; 79:1-21. Absent from the log still are the 2005 and 2006 instant
 5 messages which had been expressly described to Plaintiffs’ counsel by Mr. Alderman. Singh
 6 Decl., Ex. 3; see also Singh Decl., ¶¶8-9.
 7          Both the August 2013 Privilege Log and the December 2013 Privilege Log make it clear,
 8 regardless of their propriety or whether all of the logged communications were in fact privileged,
 9 that Mr. Chatterjee and or Mr. Chatterjee’s intermediary Bijoy Chatterjee, were having multiple
10 interactions with Defendant Chakrabarti about Ms. Farhang and the joint venture during the very
11 time period when Mr. Telfer was still at Orrick and Ms. Farhang’s documents (both the
12 purportedly complete Client File presented in 2010 and the subsequently discovered tranche of
13 Telfer emails) were still on the Orrick servers. Singh Decl. ¶9, Ex. 2, Ex. 3; cf. Dkt. No. 30, ¶¶3-
14 6.
15
        E. Since 2009, Mr. Chatterjee Has Purported To Be Lead Counsel And Even After
16         Irregularities Were Revealed, Orrick Has Flatly Refused To Wall Mr. Chatterjee
           From Representation of Defendants And Has Insisted That Mr. Chatterjee is
17         Intertwined With Every Aspect Of Litigation
18          In 2009, Orrick entered the current lawsuit as counsel for Defendants and Ms. Farhang
19 filed a Motion to Disqualify Orrick as counsel. Dkt. No. 25; see also Dkt. No. 29. When the
20 Motion was filed, Orrick claimed that Orrick’s representation of IIT and Defendant Chakrabarti
21 began after Mr. Telfer left the firm (2008) and years after relevant documents were available for
22 review.” Dkt. No. 32 at 4:23-5:7. Two year later, Mr. Chatterjee revealed in November of 2012
23 that he had in fact discussed Ms. Farhang and the joint venture, purportedly in a privileged
24 context, during the joint venture and long before 2008 while Mr. Telfer was still present at Orrick.
25 Singh Decl., Ex. 1 and ¶¶7-10, 18-20.
26
27                                                    - 15 -
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 1          While analyzing these discrepancies and attempting to evaluate the implication of the
 2 numerous recently identified discrepancies in Orrick’s prior sworn testimony, Plaintiffs’ counsel
 3 repeatedly and expressly requested that Neel Chatterjee should be walled off from the matter while
 4 the investigation was pending. Singh Decl., ¶23. Defendants have flatly, brazenly and
 5 condescendingly refused for almost a year, and in fact have confirmed in Counselor Tom
 6 Zellerbach’s recent declaration that Counselor Chatterjee has been involved as lead counsel for
 7 Defendants throughout all relevant periods. Dkt. No. 463, ¶2. In fact, Orrick has also failed to
 8 follow any meaningful protocol to wall its attorneys appropriately, and as recently as one week
 9 ago, a member of its merits team sought access to the January 24, 2010 Hearing Transcript despite
10 a tentative making it clear that sensitive information would be and had in fact been discussed.
11 Singh Decl. ¶23.
12       III. LEGAL ANALYSIS
13          Based on the preceding facts, disqualification of Orrick is not only appropriate but now
14 virtually mandatory.
15
            A. Overview Of Legal Standard for Disqualification Based on Prior
16          Representation

17          Pursuant to Rule 3-310(E) of the State Bar Rules of Professional Conduct, a member of the
18 bar "shall not, without the informed written consent of the client or former client, accept
19 employment adverse to the client or former client where, by reason of the representation of the
20 client or former client, the member has obtained confidential information material to the
21 employment." If a substantial relationship is established between successive representations and
22 the former representing attorney is still present with the firm, disqualification is virtually
23 automatic. See Jessen v. Hartford Cas. Ins. Co., 111 Cal. App. 4th 698, 706, 3 Cal. Rptr. 3d 877,
24 882 (2003) (“This standard, with its conclusive presumption of knowledge of confidential
25 information, is ‘justified as a rule of necessity’ because: ‘it is not within the power of the former
26 client to prove what is in the mind of the attorney. . .The conclusive presumption also avoids the
27                                                    - 16 -
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 1 ironic result of disclosing the former client's confidences and secrets through an inquiry into the
 2 actual state of the lawyer's knowledge and it makes clear the legal profession's intent to preserve
 3 the public's trust over its own self-interest.”); see also Global Van Lines, Inc. v. Superior Court
 4 (1983) 144 Cal.App.3d 483, 192 Cal.Rptr. 609.; see also Rosenfeld Constr. Co. v. Superior Court,
 5 235 Cal. App. 3d 566, 575, 286 Cal. Rptr. 609, 614 (Ct. App. 1991) (“Therefore, in the usual case
 6 when the substantial relationship of the matters is established, the inquiry ends and the
 7 disqualification should be ordered. If it were otherwise, a weighing process would be inevitable.
 8 The rights of the former client would be lined up against those of the new client, perhaps to the
 9 detriment of both. The purpose of the substantial relationship test is to avoid such an inquiry.”
10 [citations omitted]); see also H.F. Ahmanson & Co. v. Salomon Brothers, Inc. (2nd Dist. 1991)
11 229 Cal.App.3d 1445, 280 Cal.Rptr. 614.
12          B. This Court Previously Found A Substantial Relationship Between Orrick’s
13          Representation of Plaintiff Farhang And Orrick’s Representation of Defendants

14           To determine “whether a substantial relationship exists between successive representations

15 the court must first determine if the attorney had a direct and personal relationship with the former
                                   th
16 client.” Jessen, 111 Cal. App. 4 698, 705 (2003). Applying the substantial relationship test,
17 courts often look at: 1. Similarities between the respective factual situations, 2. The legal questions
18 involved, and 3. The nature and degree of the attorney’s involvement with the cases. Dkt. No. 86,
19 p. 4, citing H.F. Ahmanson & Co. v. Salomon Brothers, Inc., 229 Cal. App. 3d 1445, 1456 (1991).
20          Applying the above referenced test, this Court reasonably and appropriately concluded in

21 2010 that “it would appear that at a minimum that Orrick’s representation would have involved
22 confidential discussion concerning Farhang’s ownership and contribution toward the development
23 of the IP and the initial and potential value would all seem material to the evaluation, prosecution,
24 and settlement of Farhang’s current litigation against IIT” thus finding “a substantial relationship
25 exists between the current litigation and Orrick’s prior representation of Farhang.” Dkt. No. 86 at
26 4-6. In its analysis, the Court correctly applied a substantial relationship test and highlighted the
27                                                    - 17 -
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 1 extensive time spent by Mr. Telfer, the nature of Mr. Telfer’s representation, and the legal
 2 questions posed in Mr. Telfer’s representation and the current case. Id.
 3          In their related and recently filed briefing opposing the deposition of Neel Chatterjee,
 4 Orrick argues that the recently revealed Telfer emails suggest that Ms. Farhang’s representation
 5 about the substantial relationship between Orrick’s representation of her and Defendants was not
 6 properly characterized or understood by the Court. (Dkt. No. 461 at 4:1-20). This after-the-fact
 7 attack on the Court’s previous conclusion is faulty in several respects. Indeed, it ignores the plain
 8 English reading of the new sample emails submitted (which originated from the tranche of Telfer
 9 emails which Orrick previously concealed). Plaintiffs refer the Court to Conditionally Sealed
10 Exhibit 3 of the previously submitted Declaration of Sanjiv N. Singh submitted in support of
11 Plaintiff’s opposition to Orrick’s motion to quash the Chatterjee subpoena. Dkt. No. 459-1, Ex. 3
12 [Previously Submitted Under Seal] (specifically sentences on p.2 of the Exhibit with sentences
13 beginning “After it is over…” and “**Most importantly…”). This email clearly shows Plaintiff
14 Farhang having key strategic discussions with Mr. Telfer about not only her plans to own the
15 technology but her planned usage of the technology for a commercial venture. Id.4 Even if
16 arguendo this were the only email in the tranche (which it is not), the email itself is sufficient and
17 troubling evidence because: (i) it is a “correspondence” and thus falls within the plain meaning of
18 “client papers and property” as defined by California Rule of Professional Conduct 3-700(D)(1);
19
            4
20              Moreover, this sample email gives rich context to the previously submitted supposedly
     complete client file which Orrick had submitted in 2010 and confirms that those files, including
21   the draft employment agreements, also reflected active discussion between Mr. Telfer and Ms.
     Farhang about intellectual property rights she was interested to acquire, whether by license
22   initially or later by ownership. See Client File Submitted for In Camera Review By Orrick
     (received by this Court under seal pursuant to Administrative Motion, Dkt. Nos. 35-37, p. 18 of
23   the PDF [Section 9 entitled “Formation of New Entity” of draft employment agreement with
     Ikonodyne]). A brief comparison of Section 9 in the cited draft agreement (Id.) from the
24   previously submitted client file with the newly discovered Telfer emails (Conditionally Sealed Ex.
     3 to Dkt. No. 459-1) reveals that Mr. Telfer was very actively assisting Ms. Farhang position her
25   employment negotiations to acquire intellectual property rights to the Mobile Technology. This
     flatly and decisively contradicts Orrick’s previous contentions that Mr. Telfer was a mere
26   employment (or to use Mr. Chatterjee’s words “overcompensated”) attorney advising on tangential
     matters unrelated to the joint venture.
27                                                    - 18 -
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 1 (ii) it was retained by Orrick and not disclosed in 2010 (January 2010 Hearing Transcript at 15:25-
 2 16:3); (iii) it was on the Orrick server and is on the server to this day (Singh Decl., ¶¶10, 21); and
 3 (iv) it was moreover in the possession and knowledge of the Orrick attorney who represented Ms.
 4 Farhang and who was still present in the same Bay Area practice as Mr. Chatterjee when Mr.
 5 Chatterjee began his repeated conversations and interactions with Defendant Chakrabarti about
 6 Ms. Farhang and the joint venture. Id.
 7          C. The Limited Exception To The Presumption of Imputed Knowledge Should
 8          Not Be Available In This Case Where Mr. Telfer And Mr. Telfer’s Files Were All
            Present During Mr. Chatterjee’s Repeated Interactions With Defendant
 9          Chakrabarti

10          As previously set forth by this court, “the State Bar Rules of Professional Conduct

11 prohibits the use of confidential information in adverse representation” and “‘it has long been
12 recognized that knowledge obtained by one member of a firm of lawyers is imputed to all the
13 other members.’” Dkt. No. 86, p. 6; citing Rosenfeld Construction Co. v. Superior Court, 235 Cal.
14 App. 3d 566, 573 (1991). However, there is “a recognized ‘limited [emphasis added] exception to
15 this conclusive presumption in the rare [emphasis added] instance where the lawyer can show that
16 there was no opportunity for confidential information to be divulged.’” Goldberg v.
17 Warner/Chappell Music, Inc., 125 Cal. App. 4th 752, 760, 23 Cal. Rptr. 3d 116, 121 (2005).
18          Specifically, when the representing attorney has departed the firm considering successive

19 representation, California courts have looked to ABA Model Rule 1.10(b) for guidance.
20 Goldberg, 125 Cal. App. 4th at 765; Adams v. Aerojet-General Corp., 86 Cal. App. 4th 1324,
21 1337 (2001); Dieter v. Regents of the Univ. of Cal., 963 F. Supp. 908, 912 (E.D. Cal. 1997).
22 Courts have applied the Model Rule to create a narrowly rebuttable presumption where “the
23 presumption of imputed knowledge is rebutted when ‘the evidence establishes that no one other
24 than the departed attorney had any dealings with the client or obtained confidential information.’"
25 Goldberg, 125 Cal. App. 4th at 765. It is important to note that: (i) this very narrowly rebuttable
26 presumption is only supposed to be applied in “rare” instances; and (ii) the burden of proof to
27                                                    - 19 -
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 1 rebut the presumption rests with the firm opposing disqualification and not with the moving party.
 2 Goldberg, 125 Cal. App. 4th at 765; see also Davis v. EMI Grp. Ltd., 12-CV-1602 YGR, 2013
 3 WL 75781 (N.D. Cal. Jan. 4, 2013) (where the court emphasizes the rare and limited instances in
 4 which parties should be able to rebut the presumption that confidential information is exchanged
 5 in successive representations).
 6          This “limited” and “rare” exception however is clearly not applicable in light of Orrick’s
 7 latest assertions and claims of privilege whereby they assert that Mr. Chatterjee was
 8 communicating with Mr. Chakrabarti in supposedly protectable, attorney-client communications
 9 dating back to 2004. See Dkt. No. 30, ¶¶ 3 – 6; see also Singh Decl., Ex. 1 and ¶¶7-10; see also
10 August 2013 Privilege Log; see also December 2013 Privilege Log at Document Nos. 77, 108,
11 240-242, 251-253, and 307-310 As abundant evidence shows, Mr. Telfer and both the trimmed 39
12 page file and the more expansive file including all of Mr. Telfer’s emails were physically located
13 in Orrick’s Bay Area practice during the very same period that the Bay Area-based Mr. Chatterjee
14 (or his intermediary Bijoy Chatterjee) was having repeated communications with Defendant
15 Chakrabarti. Id. In such case, Goldberg does not apply and the Court should simply apply the
16 substantial relationship test (on which it already ruled in this case). See infra at Section III (A)-
17 (B). In such case, Mr. Telfer’s knowledge is imputed to Orrick as a firm and would have been the
18 basis for disqualifying Orrick from providing advice to Mr. Chakrabarti (including advice that
19 may have improperly facilitated breach of the joint venture). Id. In fact, it is not even necessary to
20 show that Mr. Chatterjee actually communicated with Mr. Telfer or actually accessed his files
21 from 2004 to 2006, though Mr. Telfer’s recent statements to Plaintiffs’ counsel raises this
22 possibility as does Mr. Chatterjee’s questionable, contradictory testimony and the privilege logs.
23 See Ahmanson, 229 Cal.App.3d at p. 1453, 280 Cal.Rptr. 614 (“It is not within the power of the
24 former client [Farhang] to prove what is the mind of the attorney [Chatterjee or other Orrick
25 attorneys]”); see also Singh Decl., ¶¶7-10, 18-20. The fact that Mr. Chatterjee and Orrick did not
26 seek Ms. Farhang’s consent for their prior interactions with Mr. Chakrabarti (and that therefore
27                                                    - 20 -
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 1 Orrick’s representation of Defendants was thus not known to Ms. Farhang until after Mr. Telfer
 2 left Orrick in 2008) (Singh Decl. ¶8) should not provide Orrick the opportunity to rebut a
 3 presumption intended to protect the sanctity of the duty of loyalty and confidentiality. This is a
 4 textbook (albeit shocking) case where the presumption should be preserved, and disqualification
 5 should have been virtually automatic but for Orrick failing to disclose vital material facts in 2010.
 6      D. Even If Orrick Is Permitted To Try To Rebut The Presumption of Imputed
 7      Knowledge, They Must Fail Because All Of The Factual Predicates Underlying The
        Court’s Previous Evaluation of Evidence Have Been Shown To Be False.
 8
            Deprived of material information, this Court denied Plaintiff’s original Motion to
 9
     Disqualify Defendants’ Counsel on the notion that the risk of disclosure of Ms. Farhang’s
10
     confidential information was low because (1) the attorneys that previously represented Ms.
11
     Farhang left Orrick prior to the commencement of this lawsuit and (2) there were no longer any
12
     relevant, obtainable confidential documents at Orrick. See Dkt. No. 98 at 6:3-9.
13
            As set forth above, the opportunity to rebut the presumption of imputed knowledge should
14
     not apply in this case, but even if it does, the Court’s evaluation of evidence would be very
15
     different now than it was in 2010. Each of the factual predicates the Court relied on has now been
16
     shown to be false: (1) Contrary to Mr. Chatterjee’s previous sworn testimony, Mr. Chatterjee
17
     discussed the joint venture and Ms. Farhang, including termination of the joint venture, with Mr.
18
     Chakrabarti more than three years earlier than previously represented; (see Singh Decl., ¶¶7-10;
19
     see also Jacobs Decl., ¶¶8-10; see also August 2013 Privilege Log; see also December 2013
20
     Privilege Log at Document Nos. 77, 108, 240-242, 251-253, and 307-310) (2) Those discussions
21
     took place without notice to or consent from Ms. Farhang; (Singh Decl., ¶¶8-9) (3) Contrary to
22
     Orrick’s previous sworn testimony, those discussions took place while Mr. Telfer was still
23
     working for Orrick’s Bay Area practice, and Mr. Telfer acknowledges the possibility that he talked
24
     to Mr. Chatterjee; (Id.; see also Dkt. No. 30, ¶3-5; see also Singh Decl., ¶18-20) and (4) Contrary
25
     to Orrick’s previous sworn testimony, Ms. Farhang’s client file containing significant information
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27                                                    - 21 -
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 1 about her views of the Mobile Technology and its ownership, as well as Mr. Telfer himself
 2 residing in the same Bay Area practice, were present at Orrick and accessible to Mr. Chatterjee
 3 during the entire time he was talking to his close friend Mr. Chakrabarti. Singh Decl., ¶¶10, 21;
 4 see also Dkt. No. 459-1, Ex. 3 [Previously Submitted Under Seal].
 5          These factual discrepancies in aggregate raise very serious questions about Mr. Chatterjee,
 6 Mr. Kaufman, and Orrick’s credibility. In such a case, where the presumption should only be
 7 rebutted with a strong showing of evidence and where the burden remains with Orrick (Goldberg,
 8 125 Cal. App. 4th at 765; see also Davis, 12-CV-1602 YGR, 2013 WL 75781 (N.D. Cal. Jan. 4,
 9 2013)) , the Court must err on the side of caution and must now seriously question whether Orrick
10 is capable of providing credible rebuttal evidence where there has been such a systemic
11 breakdown in its ability to track its own communication, files and the conduct and
12 communications of its own attorneys. Regardless of whether the facts appeared on surface to be
13 sufficient to rebut the presumption in 2010, it is abundantly clear now that the facts were false and
14 thus cannot possibly be sufficient to overcome the presumption of firm knowledge. See Singh
15 Decl., ¶¶7-10, 18-20; see also Jacobs Decl., ¶¶1-10; see also August 2013 Privilege Log; see also
16 December 2013 Privilege Log at Document Nos. 77, 108, 240-242, 251-253, and 307-310).
17          E. Facts Revealed Since The 2010 Hearings Raise The Possibility That
18          Defendant Chatterjee May Be A Defendant

19          It is well recognized that substantial relationship analysis requires Court to look at

20 “similarities between the two factual situations.” Dkt. No. 86, p. 4, citing H.F. Ahmanson, 229
21 Cal. App. 3d at 1456. In this case, this Court is presented with the remarkable situation where the
22 factual situations involved in the two successive representations may actually involve the current
23 representing attorney of the new client as a percipient witness and a possible defendant, and there
24 is a real question as to whether his access to Farhang confidential information from the Farhang
25 Orrick matter facilitated breach of the joint venture that is the subject of the IIT/Chakrabarti
26 Orrick matter. Consider the following undisputed facts:
27                                                    - 22 -
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 1          ●       Beginning in 2004, the recently revealed privilege logs show that Defendants were
 2          having repeated contact with Neel Chatterjee, and the presence of these communications
 3          on the log now directly contradict Mr. Chatterjee’s sworn testimony that his pre-2008
 4          communications had nothing to do with the joint venture. see Singh Decl., ¶¶7-10; see
 5          also Jacobs Decl., ¶¶8-10; see also August 2013 Privilege Log at Documents Nos.1-3; see
 6          also December 2013 Privilege Log at Document Nos. 77, 108, 240-242, 251-253, and 307-
 7          310). This discrepancy raises important questions as to why Counselor Chatterjee hid or
 8          failed to recall these communications.
 9          ●       During the end of 2005 and early 2006, according to Orrick’s Counselor Alderman
10          as communicated to Mr. Jacobs and Mr. Singh, Neel Chatterjee and Defendant Chakrabarti
11          were talking about Ms. Farhang and the joint venture and about concerns Defendant
12          Chakrabarti had about the joint venture and Ms. Farhang. Singh Decl., ¶8. To date, some of

13          these communications, which Mr. Alderman indicated were by instant messaging, appear
14          nowhere on any of the available , purported privilege logs. Id. at ¶¶9. More concerningly,
15          Counselor Alderman initially stated there were “several” such IM messages, but
16          immediately after the January 24, 2014 hearing stated that there was only “one” instant
17          message to his knowledge. Id. at ¶ 24.
18          ●       In April of 2006, within the same time span, specifically on April 19, 2006,
19          Defendant Chakrabarti sent a letter to Ms. Farhang purportedly admitting her to Defendant
20          IIT’s incubation program but demanding that she produce evidence of intellectual property
21          ownership. TAC, Ex. D. Earlier that month, on April 6, 2006, Defendant Chakrabarti
22          secretly instructed the engineers to quit the project and deceive Ms. Farhang into believing
23          it was ongoing (Dkt. No. 444, Ex. 17); the April 19, 2006 invitation was thus clearly
24          sham.

25          ●       During April of 2006, and in fact approximately two weeks prior to the April 19,
26          2006 fraudulent incubation admission invitation described above, Neel Chatterjee and his
27                                                    - 23 -
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 1          father (who Counselor Zellerbach has confirmed was acting as an “intermediary” for his
 2          son Neel Chatterjee, thereby supposedly justifying privilege over communications between
 3          Bijoy Chatterjee, a non lawyer, and Partha Chakrabarti) repeatedly communicated with
 4          Defendant Chakrabarti including but not limited to multiple emails on April 7 and April 8,
 5          2006, including direct emailing between Defendant Chakrabarti and Neel Chatterjee on
 6          April 8, 2006. December 2013 Privilege Log, Document Nos. 240-242, 251.
 7          ●         In June of 2006, after repeated and previously undisclosed interactions with
 8          Orrick’s Neel Chatterjee, who had access to Farhang’s confidential client information and
 9          Mr. Telfer, Defendants issued a flat repudiation of the entire joint venture and invoked
10          specific intellectual property arguments to try to terminate the joint venture, including
11          incorrect factual arguments about ownership which appear directly motivated by
12          incomplete information contained in Ms. Farhang’s confidential Orrick files. Dkt. No. 179

13          (TAC) at p. 48:11-16 (¶53); see also Dkt. No. 50-1 at p. 11 (¶14 of Indian Complaint); cf.
14          Dkt. No. 459-1., Ex. 3 [Previously Submitted Under Seal]; see also Client File Submitted
15          for In Camera Review By Orrick (received by this Court under seal pursuant to
16          Administrative Motion, Dkt. Nos. 35-37, p. 18 of the PDF [Section 9 entitled “Formation
17          of New Entity” of draft employment agreement with Ikonodyne]); see also Singh Decl., ¶¶
18          10, 21.
19          The above chronology reveals that Mr. Chatterjee is inextricably woven into the material
20 facts of Ms. Farhang’s claims against Defendants. Against this backdrop, it seems inconceivable
21 that Orrick would claim, under these circumstances, that the newly discovered evidence about
22 Orrick’s conduct would “weaken” the Court’s finding of a substantial relationship between the
23 two representations.
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27                                                    - 24 -
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        F. The Advocate-Witness Rule May Be Applied Here To Disqualify Orrick,
 1         Particularly Where Orrick Has Refused To Screen Mr. Chatterjee From The
 2         Matter For Months Even After They Became Aware Of His Conflicting Testimony
           And Deeper Involvement And In View Of Orrick’s Intertwined Operations
 3
            It is well recognized that “‘District courts have the inherent power and discretion to
 4
     disqualify counsel in order to maintain the ethical standards of professional responsibility.’” See
 5
     Caluori v. One World Technologies, Inc., CV 07-2035 CAS VBKX, 2012 WL 2004173 (C.D. Cal.
 6
     June 4, 2012) . Included in this inherent power and discretion is the specific ability to disqualify
 7
     counsel who become material witnesses in the matter where they are acting as counsel.
 8
            The “advocate-witness” rule has been regularly applied in California to disqualify counsel
 9
     of record, particularly. See Kennedy v. Eldridge, 201 Cal. App. 4th 1197, 1211, 135 Cal. Rptr. 3d
10
     545, 556 (2011). The Kennedy court noted: “The “advocate-witness rule,” which prohibits an
11
     attorney from acting both as an advocate and a witness in the same proceeding, has long been a
12
     tenet of ethics in the American legal system, and traces its roots back to Roman Law.” Kennedy v.
13
     Eldridge, 201 Cal. App. 4th 1197, 1208-09, 135 Cal. Rptr. 3d 545, 554 (2011) The exceptions to
14
     the advocate witness rule are narrow and courts often look to the ABA Model Rule 3.7 which
15
     states: “(a) A lawyer shall not act as advocate at a trial in which the lawyer is likely to be a
16
     necessary witness unless:(1) the testimony relates to an uncontested issue;(2) the testimony relates
17
     to the nature and value of legal services rendered in the case; or (3) disqualification of the lawyer
18
     would work substantial hardship on the client.” Id at 1209; see also ABA Model Rule 3.7.
19
            Federal courts in California applying the “advocate-witness” rule have applied it with
20
     appropriate vigor, using the narrow exceptions set forth by Kennedy sparingly and further
21
     confirming that client consent makes no difference and should not bar application of the advocate-
22
     witness rule to disqualify counsel of record. Caluori v. One World Technologies, Inc., CV 07-2035
23
     CAS VBKX, 2012 WL 2004173 (C.D. Cal. June 4, 2012) These same courts define “necessary
24
     witness” as follows: “A lawyer is likely to be a necessary witness where the proposed testimony
25
     is relevant, material, not merely cumulative, and obtainable elsewhere.” Id.
26
27                                                     - 25 -
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 1          Applying California state appellate and California federal court application of the
 2 advocate witness rule to this matter, although not needed, provides additional basis to disqualify
 3 Orrick as counsel of record in this matter. As set forth above and like in Kennedy and/or Caluori,
 4 Mr. Chatterjee’s testimony is relevant and material to disposition of the underlying matter. See
 5 infra at Section III(E).
 6          Consistent with Caluori, it is also obvious that this kind of evidence is not “cumulative”
 7 and not “obtainable elsewhere”. Mr. Chatterjee occupied the unique and inimitable position of
 8 being the only individual on this planet who had access to Mr. Telfer and Ms. Farhang’s client
 9 files (which contained confidential information about intellectual property ownership), who was
10 friends with Mr. Chakrabarti, and who was communicating with Mr. Chakrabarti and his father
11 Bijoy Chatterjee about the joint venture during the very time period when Mr. Chakrabarti
12 coincidentally invoked intellectual property ownership arguments and abandoned the joint
13 venture. Singh Decl., ¶¶7-10, 18-21; see also August 2013 Privilege Log; see also December 2013
14 Privilege Log at Document Nos. 77, 108, 240-242, 251-253, and 307-310) There is simply no
15 other individual who can shed full light on these issues, and for this reason Mr. Chatterjee must
16 relinquish his position as counsel to Defendants.
17          Because Mr. Chatterjee must relinquish his position as counsel, his firm must be
18 disqualified as well. It is well recognized that the taint of conflict on an individual attorney
19 automatically taints the firm as a whole: “Under the vicarious disqualification doctrine, the taint
20 of an ethical conflict that affects one attorney extends to his or her entire law firm.” See Kennedy ,
21 201 Cal. App. 4th 1197, 1205, 135 Cal. Rptr. 3d 545, 552 (citing (Adams v. Aerojet–General
22 Corp. (2001) 86 Cal.App.4th 1324, 1333, 104 Cal.Rptr.2d 116) In this particular case, the rule
23 could not be more appropriate. See infra at Section III (G).
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25
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27                                                    - 26 -
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        G. A Belated Wall Can Not Cure Orrick’s Imputed Knowledge
 1
            At every juncture of the saga of this long standing conflict, Orrick has ignored or at the
 2
     least been quite laissez faire installing appropriate protocol to try to wall offending attorneys or
 3
     minimize the risk of transmission of confidential information. Consider the following: (i) Craig
 4
     Kaufman was chosen as the attorney to act as ethical counsel in 2010, despite the fact he was an
 5
     intellectual property attorney technically subordinate to Neel Chatterjee who resided in the same
 6
     office as Mr. Chatterjee (January 2010 Hearing Transcript at 49:25-50:2; 56:24; and 159:8-11); (ii)
 7
     William Alderman now acts as ethics counsel for Mr. Chatterjee, but appears to be assisted by Mr.
 8
     Chatterjee in carrying out his duties as ethics counsel given that Mr. Chatterjee actually files
 9
     documents for him including the recent Motion to Quash (Dkt. No. 458, e-filed by Counselor
10
     Chatterjee); (iii) Mr. Zellerbach is another intellectual property litigator, and as recently as 2012
11
     was working hand in hand with Mr. Chatterjee (Dkt. No. 463, ¶2); (iv) despite repeated requests to
12
     wall Mr. Chatterjee from the matter, Orrick has refused to do so and according to Mr. Zellerbach’s
13
     recent declaration in support of Mr. Alderman’s Motion to Quash, Mr. Chatterjee has remained as
14
     lead counsel to this day (Id.; see also Singh Decl., ¶23); (v) Orrick has demonstrated similar
15
     laissez faire negligence and recklessness in connection with other ethical walls supposed to protect
16
     Ms. Farhang, which required this Court to request at least one Orrick attorney to relocate her
17
     office or resign as counsel of record when it was apparent Orrick was not abiding by the ethical
18
     wall to which both parties had stipulated in connection with former Skadden attorney Jeffrey
19
     McKenna who had been Farhang’s attorney in another matter (Dkt. No. 362); and (vi) Orrick
20
     cannot accurately track what documents it has as evidenced by Mr. Kaufman’s ignorance of the
21
     fact that the Telfer emails were sitting on Orrick’s servers and indeed specially flagged as such
22
     under an obvious litigation hold. Singh Decl., ¶ 10. It is simply inconceivable against this
23
     backdrop that Neel Chatterjee could be disqualified without disqualifying Orrick as a firm.
24
            The time for walling is over; the walls that should have been in place to maintain loyalty
25
     and confidentiality were likely breached years ago and at the very least, in the alternative, should
26
27                                                     - 27 -
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 1 not, and by law cannot, be trusted to withstand the ongoing representation of a firm who has
 2 shown such cavalier disregard for Ms. Farhang’s interests as their former client.
 3      H. The Court Has Inherent Authority To Sua Sponte Impose Sanctions
 4          This Court has the inherent authority and broad discretion to impose sanctions on parties
 5 for misconduct. In Chambers v. Nasco, Inc., 501 U.S. 32 (1991), the Supreme Court made clear
 6 that “Federal courts have the inherent power to manage their own proceedings and to control the
 7 conduct of those who appear before them.” Chambers v. NASCO, Inc., 501 U.S. 32, 33, 111 S. Ct.
 8 2123, 2126, 115 L. Ed. 2d 27 (1991).
 9          Plaintiffs believe that Defendants’ counsel has now failed on several occasions to abide by
10 well recognized rules of professional conduct. Defendants’ counsel’s conduct in connection with
11 Plaintiff Farhang’s reasonable efforts to protect her rights as a former client has been very
12 concerning to say the least and cannot be ignored:
13        1. Orrick and/or Mr. Chatterjee failed to obtain the informed, written consent of Ms.
14          Farhang, a previous client of Orrick, when Orrick began communicating with Mr.
15          Chakrabarti in 2004. Singh Decl., ¶8.
16          2. Mr. Chatterjee and Mr. Kaufman provided false testimony during the Evidentiary
17          Hearing held on January 12, 2010, evidencing at the minimum reckless disregard for the
18          duties they had to investigate relevant facts before their testimony. Singh Decl., ¶¶7-10,
19          ¶21. Counselor Jacobs recently highlighted for the Court, with specific references to the
20          January 2010 transcript, how it is simply implausible that Counselor Chatterjee was
21          ambushed at the hearing and did not know he was going to have to testify about his long
22          relationship with Defendant Chakrabarti. See Jacobs Decl. at ¶¶4-6; see also January 2010
23          Hearing Transcript at 69:4-7.
24
25
26
27                                                    - 28 -
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 1          3. Orrick and/or Mr. Kaufman failed to perform a diligent and/or good faith search with
 2          regard to whether there were no longer any relevant, obtainable confidential documents at
 3          Orrick. Singh Decl., ¶¶7-10, ¶21.
 4          Defendants’ counsel’s seeming lack of respect for the sanctity of professional
 5 responsibility to Plaintiff Farhang (and their insinuations that the number of hours should dictate
 6 the measure of loyalty owed to her—see January 2010 Transcript at 53:7-15) is appalling. If the
 7 court considers sua sponte sanctions, Plaintiffs request that the Court consider the extraordinary
 8 time spent by Plaintiffs and this Court since 2010 on this issue, and whether the enormous waste
 9 of resources could have been avoided had Orrick conducted an appropriate investigation and Mr.
10 Chatterjee given correct testimony.
11      IV. CONCLUSION
12          For the foregoing reasons, Plaintiffs respectfully requests that Plaintiff’s motion to
13 disqualify Orrick as counsel to both Defendants and any third party witnesses be granted, and
14 suggest that the Court consider sua sponte imposing monetary sanctions and whatever other
15 measures the Court deems appropriate.
16 Dated: January 29, 2014
17                                                                 Respectfully submitted,

18                                                                 SANJIV N. SINGH, APLC

19                                                                 By: ____/s/Sanjiv N. Singh________
                                                                            Sanjiv N. Singh, Esq.
20
21                                                                 Attorneys for Plaintiff Mandana D.
                                                                   Farhang and M.A. Mobile Ltd.
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27                                                    - 29 -
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 1                                    CERTIFICATE OF SERVICE
 2
 3 I hereby certify that this document(s) filed through the ECF system will be sent electronically to the
     registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be
 4 sent to those indicated as non registered participants on January 29th, 2014.
 5
     Dated: January 29th, 2014
 6
 7
                                                    Respectfully submitted,
 8                                                  SANJIV N. SINGH, A PROFESSIONAL LAW
                                                    CORPORATION
 9
10                                                  By /s/ Sanjiv N. Singh____________________
                                                    Sanjiv N. Singh
11                                                  Attorneys for Plaintiffs
12                                                  MANDANA D. FARHANG
                                                    and M.A. MOBILE LTD
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